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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


MICHAEL ANTHONY CHRISTOPHER                       )
COCHREN, II,                                      )
                                                  )
                Plaintiff,                        )
          vs.                                     )          Case No. 4:24-cv-01129-JSD
                                                  )
WHITE CASTLE SYSTEM, INC., et al.,                )
                                                  )
                Defendants.                       )

                                ORDER and MEMORANDUM

       On January 17, 2025, this matter was called for status conference. Plaintiff Michael

Anthony Christopher Cochren II (“Cochren”) appeared in person representing himself pro se.

Counsel for Defendant White Castle System, Inc. (“White Castle”) also appeared in person.

Counsel for the Equal Employment Opportunity Commission (“EEOC”) appeared via telephone.

       At the conference, this Court made a record of Cochren’s inappropriate conduct in this

matter, as he has contacted or attempted to contact, by telephone or email at all hours of the day

and night, this Court’s chambers and the clerk’s office of the United States District Court, Eastern

District of Missouri’s approximately one hundred and seventy-nine (179) times from January 1,

2025 to January 17, 2025. More to it, some of these contacts contained references to a court

employee’s personal information that Cochren purportedly gleaned from her social media account.

Also, in the four days following the status conference, Cochren emailed the Court’s chambers

another seven (7) times,

       In this context, on January 21, 2025, the Court issued an Order [ECF No. 63] requiring that

that Cochren’s contact for all court-related filings and matters shall be restricted, by email or

phone, to the Clerk of the Court, Nathan Graves, or the Assistant Clerk of the Court, Lori Miller
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Young. Also, the Court ordered that any contact shall be limited to once per day between the hours

of 9 a.m. to 5 p.m. This Court further ordered that Cochren shall not have any contact with any

court employee, shall not follow any court employee on social media, and shall not harass opposing

counsel, in any manner whatsoever. The Court defined “court employee” to include, but not be

limited to, this Court and his chambers’ staff. As such, this Court ordered that Cochren shall not

have any contact with this Court or his chambers’ staff except in the courtroom while in-person.

The Court also admonished Cochren that if he violated any of the Court’s orders, this Court may

hold him in contempt.

       Remarkably, Cochren has violated the Court’s January 21 Order. [ECF No. 63] Since its

entry, Cochren has directly contacted or attempted to contact this Court’s chambers’ staff

approximately fifty-one (51) times as follows:

       1. Between January 17 and January 25, 2025, twelve (12) emails.
       2. January 26, 2025, twenty (20) emails between 4:27 a.m. and 11:58 p.m., and,
       3. January 27, 2025, nineteen (19) emails between 12:11 a.m. and 1:03 p.m.

Moreover, he has left at least one (1) voice mail with this Court’s team of court clerks. Notably,

Cochren has also apparently contacted or attempted to contact the Deputy Clerk of Court, Lori

Miller Young, twice on January 24, once on January 25, and once on January 27, 2025, in

accordance with the January 21 Order. [ECF No. 63]

       Accordingly,

       IT IS HEREBY ORDERED that the Court’s January 21, 2025, Order [ECF No. 63] is

and remains in effect, and shall remain in effect, unless otherwise ordered by this Court or by

operation of law. As such, Cochren shall continue to refrain from contacting, directly or indirectly,

court employees, this Court, and this Court’s chambers’ staff, except as set forth in the January 21

Order. [ECF No. 63] Any additional contact in violation of this Court’s January 21 Order and this



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Order and Memorandum may result in sanctions including, but not limited to, imposition or fines

and/or a finding of contempt.




                                               JOSEPH DUEKER
                                               UNITED STATES MAGISTRATE JUDGE

Dated this 27th day of January, 2025.




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